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11 ELLEN R. SERBIN., State Bar No. 128895 [SPACE BELOW FOR COURT USE ONLY]
PERONA, LANGER, BECK, SERBIN & MENDOZA
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(562) 426-6156. Fax (562) 490-9823 COENIRLL G | OE CALE.
4} ellen@piblaw.com RIVERSIDE
5 || Attorneys for Plaintiff, VICTORIA L. SANBORN BY nnn
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8 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
10 CV 12 - 01063 CAS SPx
11] VICTORIA L SANBORN, | CASE NO. ag
12 Plaintiff, COMPLAINT FOR DAMAGES FOR
13 Vv. (1) Employment Discrimination
in Violation of Government
14 ABBOTT VASCULAR INC., a Code §12940(a) Based ona
Delaware Corporation ABBOTT Physical Disability; |
15|| LABORATORIES, an Illinois (2) Employment Discrimination
Corporation, and DOES 1 in Violation of Government
16] through 50, Inclusive, Code §12940(m) Based ona
Failure to Reasonably
17 Defendants. Accommodate;
(3) Employment Discrimination
18 in Violation of Government
Code $12940(n) Based on
19 the Failure to Engage in the
Interactive Process;
20 (4) Employment Discrimination
in Violation of Government
21 Code §12940(a) Based ona
Perceived Disability; _
22 (5) Wrongful Termination in
Violation of Public Polic
23 (6) Fartlure to Provide COBRA
Notification in Violation of
24 29 U.S.C.A §1166(a)
25 Jury Trial Demanded
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COMPLAINT FOR DAMAGES

 

 
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Plaintiff, VICTORIA L. SANBORN, alleges as follows:

JURISDICTION AND VENUE

1. There is complete diversity of citizenship between the Plaintiff and
all Defendants in this matter. As will be more fully explained below, the
amount in dispute in this action, exclusive of interest and costs, exceeds the
sum of $75,000. Therefore, this court has jurisdiction over this dispute by
virtue of 28 U.S.C.A. §1332.

2. Plaintiff, ViCTORIA L. SANBORN ("Plaintiff"), is and has been an
individuai residing in Riverside County, in the State of California.

3. Plaintiff is informed and believes, and based thereon alleges, that
Defendant, ABBOTT VASCULAR INC. is, and at all times relevant to this
action was, a Delaware Corporation, and a division of Defendant, ABBOTT
LABORATORIES, an Illinois Corporation, and at all times relevant to this
action was, licensed to do business in, and is doing business in, the County of
Riverside, State of California, at 26531 Ynez Road, Temecula, California
92591.

4. Defendants ABBOTT VASCULAR INC. and ABBOTT
LABORATORIES are, and ai all times relevant to this action were,
“employers” within the meaning of Government Code §12926(d).

5. Venue is proper in this Court because, upon information and
belief, one or more of the named Defendants reside, transact business, or
have offices in this county and the acts and omissions alleged herein took
piace in this county.

6. Plaintiff, VICTORIA L. SANBORN (‘Plaintiff’), has exhausted her
administrative remedies by the timely request of a Right-to-Sue notice from
the California Department of Fair Employment and Housing within one year of

the events alleged herein.

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7. Plaintiff is ignorant of the true names and capacities of
Defendants sued herein as Does 1 through 50, inclusive, and therefore sues
these Defendants by such fictitious names and capacities. Plaintiff will
amend her complaint to allege their true names and capacities when
ascertained. Plaintiff is informed and believes, and on that basis alleges, that
each such fictitiously named Defendant is responsible in some manner for the
occurrences herein alleged, and that Plaintiff's damages, as herein alleged,
were directly caused by the conduct of such Defendants.

8. Plaintiff is informed and believes, and based thereon alleges, that
at all times relevant to this action, each and every Defendant was the
authorized agent, representative, affiliate or employee of each and every
other Defendant and, in doing the things alleged, was acting within the course
and scope of such agency, affiliation or employment and, in doing the acts
alleged herein, was acting with the consent, permission, authorization, and
ratification of each of the remaining Defendants. All actions alleged herein
were also ratified and approved by the officers, directors or managing agents
of each Defendant.

9. Defendants ABBOTT VASCULAR INC., ABBOTT
LABORATORIES, and Does 14 through 50, will be referred to collectively as

“Defendants.”

GENERAL ALLEGATIONS
10. From approximately 1988 until September 8, 2011, the date of her
termination, Plaintiff was employed full-time by Defendants. During her nearly
23 years with the company, the Plaintiff held various positions. Her last
position with Defendants was as a Customer Service Senior Speciaiist IV.
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11. At all times relevant to this action Plaintiff suffered physical
disabilities within the meaning of Government Code §§12926(k) and
12926. 1(c).

12. Onor about, March 28, 2010, Plaintiff was placed on an approved
medical leave of absence to undergo surgery on her neck after being
diagnosed with cervical radiculitus, degenerative disc disease and two
ruptured discs.

13. Plaintiff's treating physician released her to return to work on
October 4, 2010 without restrictions.

14. In or about February 2011, the Plaintiff requested a second leave
of absence from Defendants to undergo surgery to her right hand for carpal
tunnel syndrome. Defendants approved the Plaintiff's second medical leave
of absence which began on or about March 9, 2011. Plaintiff underwent

surgery on March 10, 2011.
15. Atall times relevant to this action, Plaintiff kept Defendants

informed of her medical condition and provided doctor's notes to Defendants
reflecting the dates of her medical leave of absence and her anticipated date
of return.

16. Onor about April 25, 2011, the Plaintiff was released to return to
work on a full-time basis. Upon her return to work, the Defendants notified
the Plaintiff in writing that her former position was no longer open.
Defendants gave Plaintiff the option of being placed on a Personal Leave of
Absence ("PLOA") or resigning. They told Plaintiff that if she elected PLOA,
she would be allowed to "explore opportunities of interest" with Defendants
via their job board for which she may be qualified.

17. Defendants further notified the Plaintiff in writing that if she did not
return to a ‘regular Abbott position" by September 7, 2011, the end of her
approved PLOA period, the Plaintiff could be terminated.

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18. During her approved PLOA period, the Plaintiff applied for no less
than fifteen (15) jobs posted by Defendants on the Abbot job board.
Defendants rejected Plaintiffs applications and denied her employment.

19. At ali times relevant to this action, Plaintiff is informed and
believes, and based thereon alleges, that there were vacant positions for
which she was qualified to perform and could perform with or without a
reasonable accommodation, including a customer service specialist position.

20. On September 12, 2011, after 23 years of employment, the
Defendants notified the Plaintiff that she was terminated effective September
8, 2011.

21. Plaintiff is informed and believes, and based thereon alleges, that
Defendants and each of them discriminated against her in violation of the
California Fair Employment and Housing Act (“FEHA”), Government Code
§12900, et seq., by terminating her because of her physical disability, denying
her employment because Defendants regarded her as having physical or
mental disabilities, or a history or record of having these conditions, failing to
reasonably accommodate Plaintiff by not reassigning her to a vacant position
she was qualified to perform with or without a reasonable accommodation,
failing to engage in a good faith, interactive process to determine whether she
could be accommodated in another position, and terminating her in violation

of public policy and the Defendants’ own short-term medical leave of absence

policy.

FIRST CAUSE OF ACTION
(For Employment Discrimination in Violation of Government
Code §12940(a) Based on a Physical Disability)
22. Plaintiff incorporates by reference paragraphs 1 through 21 as

though set forth in full.

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23. Plaintiff is informed and believes, and based thereon alleges, that
at all times relevant to this action, each and every Defendant was the agent
and employee of each and every other Defendant and, in doing the things
alleged, was acting within the course and scope of such agency and
employment and, in doing the acts alleged herein, was acting with the
consent, permission, authorization, and ratification of each of the remaining
Defendants. All actions alleged herein were also ratified and approved by the
officers or managing agents of each Defendant including, but not limited to,
Sue Gutek, Sr. Leave Specialist and Jensen H. Shirley, EdD, Mgr. Diversity,
inclusion & Compliance. Plaintiff is unsure of the names or job titles of the
officers or managing agents that ratified or approved the conduct alleged
herein and therefore reserves the right to amend her complaint when the
names of these individuals are ascertained.

24. Atail times relevant to this action, Plaintiff had a physical disability
within the meaning of Government Code §§12926(k) and 12926.1(c).

25. Plaintiff is informed and believes, and based thereon alleges, that
Defendants discriminated against her in the terms, conditions, or privileges of
employment in violation of FEHA, Government Code §12940(a) by refusing to
reasonably accommodate her or engage in the interactive process to
determine whether she could be reasonably accommodated in another
position with the company and by terminating her.

26. Plaintiff is informed and believes, and based thereon aileges, that
following her release to return to work on or about April 25, 2011 up through
and including the date of her termination there were vacant positions with
Defendants for which the Plaintiff was qualified and could perform with or
without a reasonable accommodation.

27. Plaintiff has exhausted her administrative remedies against

Defendants as set forth in paragraph 6.

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28. Asa direct result of the unlawful employment practices by
Defendants, Plaintiff has suffered lost wages and benefits in an amount which
has not yet been ascertained. When such damages have been ascertained,
Plaintiff will amend her complaint accordingly or according to proof at the time
of trial.

29. Asadirect result of the unlawful employment practices by
Defendants, Plaintiff has suffered embarrassment, humiliation, mental
anguish, and anxiety, all to Plaintiff's damages in an amount according to
proof.

30. Plaintiff is entitled to recover her reasonable attorneys’ fees and
costs of suit as provided by Government Code §12965(b).

31. Plaintiff is informed and believes, and based thereon alleges, that
Defendants committed the acts alleged herein maliciously, fraudulently,
oppressively, and in reckless disregard of the Plaintiff's rights under FEHA.
With a conscious disregard of the Plaintiff's civil rights and in violation of
public policy, Defendants terminated Plaintiff because of her physical
disability and her request for a reasonable accommodation. Defendants
failed or refused to reasonably accommodate the Plaintiff or engage in the
good faith, interactive process to determine whether they could reasonably
accommodate Plaintiff by reassigning her to another vacant position upon her
release to return to work and terminated her after 23 years of employment.
Plaintiff is therefore entitled to punitive damages commensurate with the
wealth of Defendants.
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SECOND CAUSE OF ACTION
(For Employment Discrimination in Violation of Government
Code §12940(m) Based on a Failure to Reasonably Accommodate)

32. Plaintiff incorporates by reference paragraphs 1 through 31 as
though set forth in full.

33. Plaintiff is informed and believes, and based thereon alleges, that
at all times relevant to this action, each and every Defendant was the agent
and employee of each and every other Defendant and, in doing the things
alleged, was acting within the course and scope of such agency and
employment and, in doing the acts alleged herein, was acting with the
consent, permission, authorization, and ratification of each of the remaining
Defendants. All actions alleged herein were also ratified and approved by the
officers or managing agents of each Defendant including, but not limited to,
Sue Gutek, Sr. Leave Specialist and Jensen H. Shirley, EdD, Mgr. Diversity,
Inclusion & Compliance. Plaintiff is unsure of the names or job titles of the
officers or managing agents that ratified or approved the conduct alleged
herein and therefore reserves the right to amend her complaint when the
names of these individuals are ascertained.

34. Atall times relevant to this action, Plaintiff had a physical disability
within the meaning of Government Code §§12926(k) and 12926. 1(c).

35. Plaintiff is informed and believes, and based thereon alleges, that
at all times relevant to this action, Defendants discriminated against her in
violation of FEHA, Government Code §12940(m), by refusing to reasonably
accommodate her by reassigning her to another vacant position for which she
was qualified and could perform with or without a reasonable accommodation.

36. Plaintiff is informed and believes, and based thereon alleges, that
following her release to return to work on or about April 25, 2011 up through

and including the date of her termination there were vacant positions for

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which she was qualified and could perform with or without a reasonable
accommodation.

3/7. Plaintiff has exhausted her administrative remedies against
Defendants as set forth in paragraph 6.

38. Asa direct result of the unlawful employment practices by
Defendants, Piaintiff has suffered lost wages and benefits in an amount which
has not yet been ascertained. When such damages have been ascertained,
Plaintiff will amend her complaint accordingly or according to proof at the time
of trial.

39. Asa direct result of the unlawful employment practices by
Defendants, Plaintiff has suffered embarrassment, humiliation, mental
anguish, and anxiety, all to Plaintiff's damages in an amount according to

proof.
40. Plaintiff is entitled to recover her reasonable attorneys’ fees and

costs of suit as provided by Government Code §12965(b).

41. Piaintiff is informed and believes, and based thereon alleges, that
Defendants committed the acts alleged herein maliciously, fraudulently,
oppressiveiy, and in reckless disregard of the Plaintiff's rights under FEHA.
With a conscious disregard of the Plaintiff's civil rights and in violation of
public policy, Defendants failed or refused to reasonably accommodate the
Plaintiff or engage in the interactive process to determine whether they could
reasonably accommodate Plaintiff by reassigning her to another vacant
position upon her release to return to work and instead, terminated her after
23 years of employment. Plaintiff is therefore entitled to punitive damages
commensurate with the wealth of Defendants.
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THIRD CAUSE OF ACTION
(For Employment Discrimination in Violation of Government Code
§12940(n) Based on the Failure to Engage in the Interactive Process)

42. Plaintiff incorporates paragraphs 1 through 41 by reference as
though set forth in full.

43. Plaintiff is informed and believes, and based thereon alleges, that
at all times relevant to this action, each and every Defendant was the agent
and employee of each and every other Defendant and, in doing the things
alleged, was acting within the course and scope of such agency and
employment and, in doing the acts alleged herein, was acting with the
consent, permission, authorization, and ratification of each of the remaining
Defendants. All actions alleged herein were also ratified and approved by the
officers or managing agents of each Defendant including, but not limited to,
Sue Gutek, Sr. Leave Specialist and Jensen H. Shirley, EdD, Mgr. Diversity,
Inclusion & Compliance. Plaintiff is unsure of the names or job titles of the
officers or managing agents that ratified or approved the conduct alleged
herein and therefore reserves the right to amend her complaint when the
names of these individuals are ascertained.

44. At all times relevant to this action, Plaintiff had a physical disability
within the meaning of Government Code §§12926(k) and 12926. 1(c).

45. Plaintiff is informed and believes, and based thereon alleges, that
at all times relevant to this action, Defendants failed to engage in a good faith,
interactive process with Plaintiff to determine an effective reasonable
accommodation for her known physical disability in violation of FEHA,
Government Code §12940(n).

46. Plaintiff is informed and believes, and based thereon alleges, that
following her release to return to work on or about April 25, 2011, up through

and including the date of her termination, there were vacant positions for

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which she was qualified and could perform with or without a reasonable
accommodation.

47. Plaintiff has exhausted her administrative remedies against
Defendants as set forth in paragraph 6.

48. Asadirect result of the unlawful employment practices by
Defendants, Plaintiff has suffered lost wages and benefits in an amount which
has not yet been ascertained. When such damages have been ascertained,
Plaintiff will amend her complaint accordingly or according to proof at the time
of trial.

49. Asa direct result of the unlawful employment practices by
Defendants, Plaintiff has suffered embarrassment, humiliation, mental
anguish, and anxiety, all to Plaintiffs damages in an amount according to
proof.

50. Plaintiff is entitled to recover her reasonable attorneys’ fees and
costs of suit as provided by Government Code §12965(b).

51. Plaintiff is informed and believes, and based thereon alleges, that
Defendants committed the acts alleged herein maliciously, fraudulently,
oppressively, and in reckless disregard of the Plaintiff's rights under FEHA.
With a conscious disregard of the Plaintiff's civil rights and in violation of
public policy, Defendants failed or refused to engage in the good faith,
interactive process to determine whether they could reasonably accommodate
Plaintiff by reassigning her to another vacant position upon her release to
return to work. Plaintiff applied for numerous positions posted on the
Defendants’ job board but was denied employment. Plaintiff is therefore
entitled to punitive damages commensurate with the wealth of Defendants.

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FOURTH CAUSE OF ACTION
(For Employment Discrimination in Violation of Government Code
§12940(a) Based on a Perceived Disability)

52. Plaintiff incorporates by reference paragraphs 1 through 51 as
though set forth in full.

53. Plaintiff is informed and believes, and based thereon alleges, that
at all times relevant to this action, each and every Defendant was the agent
and employee of each and every other Defendant and, in doing the things
alleged, was acting within the course and scope of such agency and
employment and, in doing the acts alleged herein, was acting with the
consent, permission, authorization, and ratification of each of the remaining
Defendants. All actions alleged herein were also ratified and approved by the
officers or managing agents of each Defendant including, but not limited to,
Sue Gutek, Sr. Leave Specialist and Jensen H. Shirley, EdD, Mgr. Diversity,
Inclusion & Compliance. Plaintiff is unsure of the names or job titles of the
officers or managing agents that ratified or approved the conduct alleged
herein and therefore reserves the right to amend her complaint when the
names of these individuals are ascertained.

54. Plaintiff is informed and believes, and based thereon alleges, that
at all times relevant to this action, Defendants discriminated against Plaintiff in
violation of FEHA, Government Code §12940(a) by terminating Plaintiff or
denying her employment because Defendants treated or regarded her as
having or having had a physical or mental disability or a record or history of a
physical or mental disability pursuant to Government Code §§12926(1)(4)(5) or
(k)(4)(9).

55. Asa direct result of the unlawful employment practices by
Defendants, Plaintiff has suffered lost wages and benefits in an amount

which has not yet been ascertained. When such damages have been

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ascertained, Plaintiff will amend her complaint accordingly or according to

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proof at the time of trial.

56. Asa direct result of the unlawful employment practices by
Defendants, Plaintiff has suffered embarrassment, humiliation, mental
anguish, and anxiety, all to Plaintiff's damages in an amount according to
proof.

57. Plaintiff has exhausted her administrative remedies against

Defendants as set forth in paragraph 6.
58. ‘Plaintiff is entitled to recover her reasonable attorneys’ fees and

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costs of suit as provided by Government Code §12965(b).
59. ‘~ Plaintiff is informed and believes, and based thereon alleges, that

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Defendants, with the consent, permission, authorization, and ratification of

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their officers, directors, or managing agents of the corporation, acted

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maliciously, fraudulently, oppressively, and in reckless disregard of the

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Plaintiffs known rights under FEHA. With a conscious disregard of the

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Plaintiff's civil rights and in violation of public policy, Defendants terminated

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Plaintiffs employment because they treated or regarded Plaintiff as having or

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having had a physical or mental disability, or a history of such conditions.

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Plaintiff is therefore entitled to punitive damages commensurate with the

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FIFTH CAUSE OF ACTION
(For Wrongful Termination in Violation of Public Policy)

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60. Plaintiff incorporates by reference paragraphs 1 through 59 as

though set forth in full.
61. Plaintiff is informed and believes, and based thereon alleges, that

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at all times relevant to this action, each and every Defendant was the agent

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and employee of each and every other Defendant and, in doing the things

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alleged, was acting within the course and scope of such agency and
employment and, in doing the acts alleged herein, was acting with the
consent, permission, authorization, and ratification of each of the remaining
Defendants. All actions alleged herein were also ratified and approved by the
officers or managing agents of each Defendant including, but not limited to,
Sue Gutek, Sr. Leave Specialist and Jensen H. Shirley, EdD, Mgr. Diversity,
Inclusion & Compliance. Plaintiff is unsure of the names or job titles of the
officers or managing agents that ratified or approved the conduct alleged
herein and therefore reserves the right to amend her complaint when the
names of these individuals are ascertained.

62. Government Code §12920 provides that it is public policy in the
State of California that employees have the right to seek, obtain and hold
employment without discrimination or abridgment on account of a physical or
mental disability or a perceived disability.

63. Plaintiff is informed and believes, and based thereon alleges, that
Defendants refused to reasonably accommodate her and terminated her
because of her physical disability or perceived physical disability in violation of
the public policy and the provisions of Government Code §12940, et seq.

64. As adirect result of the unlawful employment practices by
Defendants, Plaintiff has suffered lost wages and benefits in an amount
which has not yet been ascertained. When such damages have been
ascertained, Plaintiff will amend her complaint accordingly or according to
proof at the time of trial.

65. Asa direct result of the unlawful employment practices by
Defendants, Plaintiff has suffered embarrassment, humiliation, mental
anguish, and anxiety, all to Plaintiff's damages in an amount according to
proof,

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66. Plaintiff is informed and believes, and based thereon alleges, that
Defendants committed the acts alleged herein maliciously, fraudulently,
oppressively, and in reckless disregard of the Plaintiff's rights under FEHA.
With a conscious disregard of the Plaintiff's civil rights, Defendants refused to
reasonably accommodate Plaintiff and terminated her because of her physical
disability, or perceived physical or mental disability, in violation of the public
policy and the provisions of Government Code §12940, ef seq. Plaintiff is

therefore entitled to punitive damages commensurate with the wealth of

Defendants.

SIXTH CAUSE OF ACTION
(For Failure to Provide COBRA Notification in Violation of
29 U.S.C.A. §1166(a))

67. Plaintiff incorporates by reference paragraphs 1 through 66 as
though set forth in full.

68. The Consolidated Omnibus Budget Reconciliation Act (‘COBRA’),
provides that an employer allow a former employee the opportunity to
continue health care coverage under the employer's plan if a qualifying event
occurs. Termination is a qualifying event. Once a qualifying event occurs,
COBRA mandates that the employee be notified of her rights under COBRA.
(29 U.S.C.A. §1166.)

69. Defendants terminated Plaintiff on September 8, 2011.

70. To date, Plaintiff has not received notice of her rights under
COBRA as required by law.

71. Asadirect result of the Defendants' violation of the notice
requirements under COBRA, Plaintiff has been denied COBRA continuation

coverage and as a consequence, has and will incur actual damages including,

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but not limited to, medical expenses, in an amount which will be shown

 

 

 

 

 

 

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21) according to proof at the time of trial.
3 72. Plaintiff is entitled to penalties under 29 U.S.C. §1132(c) in an
4 || amount up to $100 for each day Defendants have violated the COBRA notice
5 | requirements.
6 73. Plaintiff is entitled to recover her reasonable attorneys’ fees and
7 || costs of suit as provided by 29 U.S.C. §1132(g).
8
9 REQUEST FOR JURY TRIAL
10 Plaintiff requests a trial by jury.
11
12 PRAYER FOR RELIEF
13 WHEREFORE, Plaintiff prays for relief and judgment as follows:
14
151 AS TO THE FIRST THROUGH FOURTH CAUSES OF ACTION:
16 4. For back pay, front pay, and other monetary relief according to
17 proof;
18 For general damages according to proof,
19 For punitive damages commensurate with the wealth of the
20 Defendanis:;
21 4 For prejudgment interest on the sum of damages awarded,
22 calculated from September 8, 2011 to the date of the judgment:
23 5 For reasonable attorneys’ fees pursuant to Government Code
24 §12965(b);
20
26 || AS TO THE FIFTH CAUSE OF ACTION:
27 6. For back pay, front pay, and other monetary relief according to
28 proof,
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COMPLAINT FOR DAMAGES

 

 

 
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4 7. For general damages according to proof;
5 8 For prejudgment interest on the sum of damages awarded,
3 calculated from September 8, 2011 to the date of the judgment;
A 9. For punitive damages commensurate with the wealth of the
5 Defendanis;
6
7 || AS TO THE SIXTH CAUSE OF ACTION:
g 10. For actual damages, including but not limited to, medical
9 expenses incurred;
40 11. For penalties in an amount to be determined by the court for each
44 day Defendants have violated the COBRA notice requirements;
42 12. For reasonable attorneys’ fees pursuant 29 U.S.C. §1132(g);
13
44| AS TO ALL CAUSES OF ACTION:
45 13. For costs of suit herein incurred; and
416 14. For such other and further relief as the court deems proper.
17
1g| DATED: February 6, 2012. L220
19 LEN R. SERBIN, a Member of
20 RONA, LANGER, BECK,
SERBIN & MENDOZA
24 A Professional Corporation
Attorneys for Plaintiff, Victoria L. Sanborn
22
23
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2f
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F:\Users\11\3100\Pleadings\complaint.frm -17-
COMPLAINT FOR DAMAGES

 

 
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Christina A. Snyder and the assigned
discovery Magistrate Judge is Sheri Pym.

The case number on all documents filed with the Court should read as follows:

CV12- 1063 CAS (SPx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

Ali discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division Eastern Division
312 N. Spring St., Rm, G-8 411 West Fourth St., Rm. 4-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your decuments being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:12-cv-01063-JGB-SP Document1 Filed 02/08/12 Page 19o0f 21 Page ID #:22

ELLEN R. SERBIN, State Bar No. 128895
Perona, Langer, Beck, Serbin & Mendoza
300 East San Antonio Drive

Long Beach, California 90807-0948

(562) 426-6155; Fax: (562) 490-9823
Ellen@plblaw.com. Attorney for Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER

. anil q 2 es 0 1669 CAS oPy

ABBOTT VASCULAR INC., a Delaware Corporation;
ABBOTT LABORATORIES, an Illinois Corporation;
and DOES 1 through 50, inclusive,

VICTORIA L. SANBORN,

 

SUMMONS

DEFENDANT(S}.

 

TO: DEFENDANT(S):

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it}, you
must serve on the plaintiff an answer to the attached complaint = amended complaint

 

C] counterclaim 0 cross-claim or a motion under Rule |? of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, ELLEN R. SERBIN , whose address is
306 E. San Antonio Drive, Long Beach, California 90807-0948 . If you fail to do so,

 

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

TERRY NAFISI
Clerk, U.S. District Court

Dated: FES 8 by. l ie
Deputy CIGS*
(Seal of the Bayrt)

[Use 60 days if the defendant is the United States or a United States agency, or is an afficer or emplovee of the United States. Allowed
60 days bv Rule | 2fa){3)}.

 

CVA CGT SUMMONS
Case 2:12-cv-01063-JGB-SP Document1 Filed 02/08/12 Page 200f 21 Page ID#:23

UNITED STATE» DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL COVER SHEET
I (a) PLAINTIFFS (Check box if you are representing yourself 0) DEFENDANTS
VICTORIA L. SANBORN ABBOTT VASCULAR INC., a Delaware Corporation, ABBOTT

LABORATORIES, an Illinois Corporation; and DOES | through 30

 

(b) Attomeys (Firm Name, Address and Telephone Number. Ifyou are representing Attorneys (f Known)
yourself, provide same.)

ELLEN R. SERBIN, State Bar No. 128895. ellen@plblaw.com

PERONA, LANGER, BECK, SERBIN & MENDOZA
300 E. San Antonio Dr., Long Beach, CA 90807-0948; (562) 426-6155

 

 

 

 

IL. BASIS OF JURISDICTION (Place an X in one box only.) Ill. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
O1U-S. Government Plaintiff O13 Federal Question (U.S. we DEF PTF DEF
Government Not a Party) Citizen of This State 1 1 Incorporated or Principal Place O14 O14
of Business in this State
2U.S8. Government Defendant 4 Diversity (Indicate Citizenship | Citizen of Another State O2 2 [Incorporated and Principal Place O05 v5
of Parties in Item HT) of Business in Another State
Citizen or Subject ofa Foreign Country [13 03 — Foreign Nation O6 O6
IV. ORIGIN (Place an X in one box only.)
al Onginal O12 Removed from 3 Remandedfrom (14 Reinstatedor [15 Transferred from another district (specify): [16 Multi- O17 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

¥V. REQUESTED IN COMPLAINT: JURY DEMAND: M Yes C1 No (Check ‘Yes’ only if demanded in complaint.)

CLASS ACTION under FR.C.P. 23: D Yes No i MONEY DEMANDED IN COMPLAINT: §_ in excess of $75,000.

VIL CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and weite a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
28 U.S.C.A. $1332 based on diversity and 29 U.S.C.A. §1166{) for failure to provide COBRA notification.

VII NATURE OF SUIT (Place an X in one box only.)

 

 
   
      

        

‘air Labor Standards

 

 

    

 
 
  
 
 

 
        

 

      
 

400 State Reapportionment Tnsurance : -PERSONAL INJURY 7: ; : :

1410 Antitrust 120 Marine 0310 Airplane PROPERTY — [C4510 Motions to Act

11430 Banks and Banking 130 Miller Act 01315 Airplane Product (1370 Other Fraud Vacate Sentence | 720 Labor/Mgmt.

1450 Commerce/lCC (2140 Negotiable Instrument Liability (1371 Truth in Lending Habeas Corpus Relations
Rates/etc. 0150 Recovery of (4320 Assault, Libel & [1380 Other Personal |01 530 General 0730 Labor/Mgmt.

£41460 Deportation Overpayment & a. Slander Property Damage |O 535 Death Penalty Reporting &

470 Racketeer Influenced Enforcement of (1330 Fed. Employers’ | 3g5 property Damage {[J 540 Mandamus/ Disclosure Act
and Corrupt Judgment Liability Product Liability Other (2740 Railway Labor Act
Organizations C1151 Medicare Act oaae Nee 4 E Civil Rights 0790 Other Labor

1480 Consumer Credit 11152 Recovery of Defaulted Liability roduct 11.422 Appeal Prison Conditi Litigation

0 490 Cable/Sat T¥ ; Student Loan (Exel. 1350 Motor Vehicle i358 0791 Empl. Ret. Inc.

1 810 Selective Service 7 Veterans) €1355 Motor Vehicle 0423 Withdrawal 28 P EYES: __ Security Act .

00850 Securities‘/Commodities/}0] 153 Recovery of Product Liability USC 157 Agriculture é ROPER: d :
Exchange Overpayment of (1360 Other Personal Other Food & © 820 Copyrights

(875 Customer Challenge 12 Veteran’s Benefits Injury O41 Voting Drug 0830 Patent
USC 3410 1160 Stockholders’ Suits (1362 Personal injury- wha42 Employment 0625 Drug Related 41840 Trademark

1 890 Other Statutory Actions JO 190 Other Contract Med Malpractice | 443 Housing/Acco- Seizure of :

00891 Agricultural Act 01195 Contract Product (1365 Personal Injury- mmodations Property 21 USC |0 861 HIA (3395ff)

(2892 Economie Stabilization Liability Product Liability }(2444 Welfare 88] (1862 Black Lung (923}
Act  i96 Franchise / 19368 Asbestos Personal [0445 American with {11630 Liquor Laws 0 863 DIWC/DIWW

(0893 Environmental Matters Injury Product Disabilities - (640 RR. & Truck (405(e))

Employment (1650 Airline Regs 1 864 SSID Title XVI

0 894 Energy Allocation Act a 216 Land Condemnation
American with [01660 Occupational [1865 RSI (403¢g))

_Liabilty
11895 FreedomofInfe. Act {1 220 Foreclosure vik

(1900 Appeal of Fee Determi- | 230 Rent Lease & Ejectinent Naturalization Disabilities - Safety/Health [[LFEDERAL:TAX:SUITS
nation Under Equal (1240 Torts to Land Application Other 0690 Other 1870 Taxes (U.S. Plaintiff
Access to Justice C1245 Tort Product Liability |G 463 Habeas Corpus- [7 440 Other Civil or Defendant)
(950 Constitutionality of (2290 All Other Real Property Alien Detainee Rights [1871 IRS-Third Party 26
(1465 Other Immigration USC 7609

State Statutes ¢
Actions

 

 

 

 

 

 

 

 

FOR OFFICE USE ONLY: — Case Number:
AFTER COMPLETING THE FRONT SIDE OF FORM CY-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

 

CV-71 (05/08) CIVIL COVER SHEET Page | of 2

FEB ~ 8 20id
Case 2:12-cv-01063-JGB-SP Document1 Filed 02/08/12 Page 21o0f 21 Page ID #:24

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT O& CALIFORNIA
CIVIL COVER SHEET

VII(a}. IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? WNo (Yes
If yes, list case number(s):

 

VIIi(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No O Yes
If yes, list case number(s):

 

Civil cases are deemed related ifa previously filed case and the present case:
(Check all boxes that appiv) (A. Arise from the same or closely related transactions, happenings, or events; or
OB. Catt for determination of the same or substantially related or simitar questions of law and fact; or
CC. For other reasons wauld entail substantial duplication of labor if heard by different judges; or
OD. involve the same patent, trademark or copyright, and one of the factors identified above in a, b or ¢ also Is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District, California County outside of this District; State if other than California, or Foreign Country, in which EACH, named plaintiff resides.
(Check here if the government, its agencies or employees is a named plaintiff. {f this box is checked, go Lo item {b).

 

County in this District:* California County outside of this District, Stare, if other than California; or Foreign Country

 

Plaintiff. Victoria Sanborn - Riverside county

 

(bo) List the County in this District. California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named defendant resides.

Cj) Check here if the govemmient, its agencies or employees is anamed defendant. If this box is checked, go to item (c)

 

County ta this District:* Califomia County outside of this District, State, if other than Catiformia; or Forelgn Country

 

Defendant. Abbou Vaseular. Ine. State of Delaware
Delendant. Abbott Laboratories State of Illinois

 

(ce) List the County in this District: California County outside of this District; State if other than California, or Foreign Country, in which EACH claim arose.
Nete: In land condemnation cases, use the location of the tract of land involved.

 

County in thts Destrict:* California County outside of this District; Slate, i other than California; or Foretgn Country

 

Riverside county

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Yentura, Santa Barbara, or San app mere Counties
Note: in land condemnation cases, use the tocation oe involved —
X. SIGNATURE OF ATTORNEY (OR PRO PER): LOL a. CK EMM. Date February 6, 2012
ee Oe
Notice to Counsel/Parties: The CV-7§ (1$-44) Cisi] Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers ag required by law This form, approved by the Judicial Conference of the United States in September 1974 is required pursuant to Local Rule 3-1 1s not filed
bur is used by the Clerk of the Court for the purpose of slalistics, venue and initiating the civil dockel sheet. (For more detailed instructions, see separate instructions sheet.)

 

Kev to Statistical codes relating to Social Security Cases

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA AH] ctaimns for health insurance benefits (Medicare) under Title 18. Part A. of the Social Security Act, as amended
Also, include claims by hospilals, skilled nursing facilities, etc.. for certification as providers of services under the

program, (42 U.S.C. 1935FFCb})

862 BL. All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safely Act of 1969.
(30 U.S.C. 923)

863 DIWwc All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended, plus all claims filed for child’s insurance benetits based on disability. (42 U.S.C. 405(g))

863 BIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act as amended. (42 USC. 405(2)}

864 5S5ID Afl claims for supplemental security mcome payments based upon disability filed under Title 16 of the Social Security
ACL as amended

RSI All claims for retirement fold age} and survivors benefits under Title 2 ofthe Social Security Act as amended. 142

ROS XS
USC. tay

 

CV¥-71 (035/08) CIVIL COVER SHEET Page 2 of 2
